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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

MARKDUTCHCO 1 B.V. and                            )
MARKMIDCO S.ÀR.L,                                 )
                                                  )
                       Petitioners,               )
                                                  )
                v.                                )    C.A. No. __________
                                                  )
ZETA INTERACTIVE CORP.,                           )
                                                  )
                       Respondent.                )



             PETITION TO COMPEL ARBITRATION PURSUANT TO
        THE CONVENTION ON THE RECOGNITION AND ENFORCEMENT
    OF FOREIGN ARBITRAL AWARDS AND THE FEDERAL ARBITRATION ACT

       Petitioners MarkDutchCo 1 B.V. (“MarkDutchCo”) and Markmidco S.àr.l (“Markmidco”

or “Seller”) (collectively, “Petitioners”), by and through their undersigned attorneys, hereby bring

this petition to compel arbitration against Zeta Interactive Corp. (“Zeta” or “Buyer”) pursuant to

Article II of the United Nations Convention on the Recognition and Enforcement of Foreign

Arbitral Awards, 9 U.S.C. § 201 et seq. (the “Convention”), as implemented by Chapter 2 of the

Federal Arbitration Act, 9 U.S.C. § 1 et seq. (“FAA”). In particular, as a result of Zeta’s wholesale

disregard for its basic contractual obligations, Petitioners seek to compel arbitration of the parties’

dispute concerning a Second Earn-out Payment required by an Interest Purchase Agreement by

and between Zeta and Seller, dated as of August 28, 2015 (the “IPA” or “Purchase Agreement”),

a true and correct copy of which is attached as Exhibit 1 hereto.1 Petitioners hereby allege the

following in support of their Petition:




1
 Capitalized terms not otherwise defined herein shall have the meaning set forth in the IPA. See
Ex. 1.
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                                   NATURE OF THE ACTION

        1.      This action arises from Zeta’s refusal to submit to a contractually mandated

arbitration to resolve the parties’ accounting and related disputes regarding an $8 million Second

Earn-out Payment Amount required to be paid under the IPA. Notwithstanding the IPA’s express

requirement that all post-Closing earn-out disputes be submitted to binding arbitration, as well as

Zeta’s prior participation in an earlier arbitration that resulted in a final arbitral award in Seller’s

favor and a court-imposed judgment against Zeta requiring Zeta to pay the First Earn-out Payment

Amount, Zeta has refused to proceed with the arbitration of the parties’ follow-on disputes with

respect to the Second Earn-out Payment. Zeta has not offered any cogent explanation for its refusal

to arbitrate, despite previously acknowledging that this matter was properly noticed for arbitration

and that Zeta would be “willing to proceed with a second arbitration on certain specified terms”

not reflected in the parties’ IPA. Instead, as reflected in the exhibits to this Petition, Zeta’s sole

stated explanation for its refusal is that Zeta has unilaterally decided that arbitration “would not be

productive at this time.” See Ex. 8.

        2.      Under the IPA, Zeta purchased from Seller certain interests in several companies

(the “Purchased Interests”) that provide email marketing, text message marketing, database

management, and other customer relationship management services to brands and retailers in the

United States and internationally (the “CRM Business”). Zeta’s purchase of the Purchased

Interests took place immediately following the Seller’s acquisition of those units as part of a larger

transaction with non-party eBay Enterprise, Inc. Pursuant to an assignment agreement among

Markmidco, MarkDutchCo, and Zeta, dated as of November 2, 2015, Markmidco assigned certain

interests in the IPA to MarkDutchCo.

        3.      As part of the overall consideration for the Purchased Interests, Zeta agreed to pay

Seller a “First Earn-out Payment Amount” of $4 million if a “First Earn-out Target” was achieved


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and a “Second Earn-out Payment Amount” of $8 million if a “Second Earn-out Target” was

achieved. See Ex. 1 § 2(b). The “First Earn-out Target” was achieved for the First Earn-out Period

(i.e., the period from December 1, 2015 to November 30, 2016) if “EBITDA” for the CRM

Business was at least $10 million, and the “Second Earn-out Target” was achieved for the Second

Earn-out Period (i.e., the period from December 1, 2016 to November 30, 2017) if “EBITDA” for

the CRM Business was at least $10 million.

       4.      The IPA mandates that specific accounting standards and definitions must be

applied when determining whether the earn-out targets were met. The IPA also requires that the

parties must submit any earn-out disputes to an independent accounting arbitrator for resolution

thereof. See id. § 2. More specifically, the IPA provides that the Arbitrator shall be the “sole

arbiter of all matters, procedural and/or substantive” relating to disputed earn-out payments; that

any arbitration must be conducted “in writing”; and that the Arbitrator’s determination “shall

constitute an arbitral award that is final, binding and non-appealable and upon which a judgment

may be entered by a court having jurisdiction thereover.” Id. §§ 2(c)(i)(B)-(C) (emphasis added).

       5.      Petitioners have disputed Zeta’s Second Earn-out Statement, which resulted in

grossly understated EBITDA and supplied patently insufficient accounting information to support

Zeta’s position. Petitioners submitted this dispute to arbitration under the IPA, as the parties

previously did in connection with the First Earn-out Statement. Nevertheless, despite multiple

demands that Zeta move forward with arbitration, Zeta has refused to submit to arbitration.

Instead, Zeta has offered multiple empty excuses for refusing to arbitrate, arguing variously that a

second arbitration “would not be productive at this time,” that a second arbitration “will yield

nothing” for Petitioners, that Zeta does not “feel” that the parties’ prior IPA-designated arbitrator

(who Zeta previously identified as its preferred choice) is “well-suited to adjudicate this matter,”




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and that it now wants agreement on different standards from those agreed in the IPA in order to

proceed with a second arbitration. See, e.g., Ex. 8. More recently, despite Petitioners repeated

efforts to select an arbitrator and move forward, Zeta has simply refused to acknowledge

Petitioners’ demands.

       6.      Given that Zeta will not respond to Petitioner’s demands to cooperate in selecting

an arbitrator and proceed with the arbitration required by the IPA, Petitioners have no choice but

to seek an order from this Court compelling Zeta to abide by its contractual obligations and

arbitrate the parties’ Second Earn-out Payment dispute. Petitioners further respectfully request

that the Court award their fees and costs incurred in bringing this Petition.

                                      RELATED ACTIONS

       7.      As indicated, this proceeding is the second action necessitated by Zeta’s refusal to

abide by its IPA arbitration obligations, and the third resulting from Zeta’s refusal to adhere to its

basic contractual obligations arising from a heavily negotiated M&A acquisition involving

sophisticated parties. In MarkDutchCo 1. B.V. and Markmidco S.ÀR.L v. Zeta Interactive Corp.,

No. 19-3845, presently pending before the Third Circuit, Zeta has appealed from a summary

arbitral award confirmation proceeding that Petitioners were forced to bring under the Convention

and FAA as a result of Zeta’s refusal to satisfy the final IPA-related arbitration award relating to

the First Earn-out Payment. The District Court (Hon. Colm F. Connolly) previously confirmed

the award, dismissed all of Zeta’s counterclaims, and entered final judgment in favor of Petitioners.

       8.      That summary arbitral award confirmation proceeding was followed by a separate

civil action brought by MarkDutchCo due to Zeta’s refusal to make a straightforward Holdback

Amount payment required by the IPA’s other payment procedures. In MarkDutchCo 1. B.V. v.

Zeta Interactive Corp., No. 20-2824, also pending before the Third Circuit, Zeta has appealed a

final judgment entered by the District Court (Hon. Colm F. Connolly) in favor of Petitioner


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MarkDutchCo in that action.

                                        THE PARTIES

       9.      Petitioner MarkDutchCo is a private limited company organized under the laws of

the Netherlands, with its registered address at Herikerbergweg 238 Luna Arena, 1101 CM

Amsterdam. Pursuant to an assignment agreement among Markmidco, MarkDutchCo, and Zeta,

dated as of November 2, 2015, Markmidco assigned certain of its interests in the Purchase

Agreement to MarkDutchCo.

       10.     Petitioner Markmidco is a private limited company organized under the laws of the

Grand Duchy of Luxembourg, with its registered address at 488 route de Longwy, L-1940

Luxembourg. The Second Earn-out Payment at issue in this action is pursued by Markmidco in

its capacity as the Seller under the Purchase Agreement, whose rights to the proceeds of this

arbitration were assigned to MarkDutchCo under the above-referenced assignment.

       11.     Respondent Zeta is a Delaware corporation with its address at c/o Zeta Interactive

Holdings Corp., 185 Madison Avenue, 5th Floor, New York, NY 10016.

                                JURISDICTION AND VENUE

       12.     This Court has jurisdiction over this action pursuant to the Convention, as

implemented by Chapter 2 of the FAA, 9 U.S.C. §§ 201 et seq., given that the arbitration agreement

at issue here arises from a commercial relationship, Petitioners are foreign companies, and U.S.

district courts have original jurisdiction over actions governed by the Convention.2 9 U.S.C. §§


2
 Even in the absence of federal jurisdiction on the above-stated grounds, this Court also would
have diversity jurisdiction over this action because Petitioner MarkDutchCo is a Dutch company
with its principal place of business in the Netherlands, Petitioner Markmidco is a Luxembourg-
based company with its principal place of business in Luxembourg, and Respondent is a
corporation incorporated under the laws of Delaware with its principal place of business in New
York. The amount in controversy, specifically the $8 million Second Earn-out Payment Amount,
exceeds $75,000, exclusive of interest and costs, as required by 28 U.S.C. § 1332.



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202, 203.

        13.    Under the Convention, this Court has jurisdiction to compel arbitration given Zeta’s

refusal to comply with the Second Earn-out arbitration required by the IPA. Specifically, Section

206 of the Convention provides that “[a] court having jurisdiction under this chapter may direct

that arbitration be held in accordance with the agreement at any place therein provided for, whether

that place is within or without the United States.” 9 U.S.C. § 206.

        14.    Venue is proper in this District under Section 204 of the Convention and Section

7(d)(ii) of the IPA because Seller and Zeta irrevocably and unconditionally agreed to submit to the

exclusive jurisdiction of “any . . . state or federal court within the State of Delaware” for any

dispute or controversy arising out of the IPA.

                                   STATEMENT OF FACTS

A.      The Purchase Agreement and Zeta’s Purchase of the CRM Business

        15.    This action arises from a transaction in which Zeta acquired from Seller Markmidco

various entities comprising the CRM Business, which provides email marketing services, text

message marketing services, database management services, and attribution management services,

including digital media services, to brands and retailers. MarkDutchCo is the assignee of certain

of Markmidco’s rights under the Purchase Agreement, including its right to payment of the earn-

out and related amounts awarded by the arbitrator.

        16.    In exchange for the CRM Business, Zeta agreed to pay to Seller a Purchase Price

consisting of three distinct components: (i) a “Cash Purchase Price” of $23 million in cash; (ii)

1,685,717 shares of Buyer Common Stock; and (iii) an overall “Earn-out Payment Amount”

consisting of a total of $12 million, payable in three separate tranches. See Ex. 1 § 2.

        17.     More specifically, the Purchase Agreement obligates Zeta to pay separate “Earn-

out Payment Amounts” following the first, second, and third anniversaries of the Closing Date.


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These additional payments are required to be made based on whether the CRM Business achieves

certain minimum levels of “EBITDA,” as defined in the Purchase Agreement. See id. § 2(b). The

particular accounting standards and scope of “EBITDA” for these purposes were extensively

negotiated and narrowly tailored by the parties for use solely in connection with determining

whether earn-out payments would be payable under the Purchase Agreement. Among other things,

the Purchase Agreement’s EBITDA definition strictly limits the costs that may be applied by Zeta

to reduce EBITDA. The IPA also reflects multiple other contractually-mandated standards

governing the calculation of EBITDA and Zeta’s obligation to both support its EBITDA

calculations and provide direct access to information and personnel necessary to verifying those

calculations.

       18.      With regard to the specific dispute at issue here, Buyer is required to pay Seller a

“Second Earn-out Payment Amount” of $8 million if the “Second Earn-out Target” is achieved.

See id. § 2(b). The “Second Earn-out Target” is defined as “the achievement by the CRM Business

of at least $10,000,000 in EBITDA for the Second Earn-out Period,” which is in turn defined as

“the twelve-month period commencing on the first day following the end of the First Earn-out

Period and ending twelve-months thereafter.” Id. App’x A at viii. The parties’ original Closing

Date was November 2, 2015. The Second Earn-out Period therefore started on December 1, 2016

and concluded on November 30, 2017.

       19.      Recognizing that it was possible that post-Closing disputes might arise between the

parties with respect to EBITDA-related and other earn-out calculations, Section 2 of the Purchase

Agreement established a specific procedure for determining whether earn-out payments were

required to be made and resolving any disputes relating to such matters. Under Section 2(c), Zeta

unambiguously agreed that all disputes related to earn-out payments must be resolved by binding




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arbitration. Section 2(c)(i)(A) provides that any such disputes shall be submitted to the arbitrator

“for resolution thereof.” The Purchase Agreement further provides that the arbitrator shall be the

“sole arbiter of all matters, procedural and/or substantive, as to such Disputed Payment Amount.”

Id. § 2(c)(i)(B).

        20.     The Purchase Agreement further requires that Zeta pay the Second Earn-out

Payment Amount of $8 million, with $4 million payable within 5 business days of the date that

“EBITDA for the Second Earn-out Period is finally determined” and $4 million “payable on the

third anniversary of the Closing Date.” Id. § 2(b). The Purchase Agreement also provides that

Seller is entitled to “specific performance of the terms [of the Purchase Agreement] or other

equitable remedies in the event of any such breach, without the necessity of proving the inadequacy

of remedies at Law and to obtain injunctive relief against any breach or threatened breach of any

covenant or agreement contained in [the Purchase] Agreement.” Id. § 7(m).

B.      Zeta Refuses to Pay the First Earn-out Payment Amount,
        Resulting in Extended Arbitration and Litigation

        21.     Zeta’s purchase of the CRM Business closed on November 2, 2015, and for the one

year period thereafter resulted in Zeta’s receipt of significantly more revenue from the CRM

Business than the parties originally had forecasted in advance of the transaction.

                22.    In an effort to avoid payment of its contractually-mandated First Earn-out

Payment Amount, Zeta advanced a purported First Earn-out Statement that radically understated

EBITDA. After multiple preliminary disputes over information demands and other items, the

parties referred all of their disputes to arbitration in accordance with Section 2 of the IPA.

        23.     In particular, and consistent with Section 2(c)(i)(A) of the IPA, the parties jointly

retained Deloitte, the accounting firm expressly designated in the IPA as the parties’ preferred

arbitrator, to determine the outcome of their First Earn-out Payment disputes.            During the



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arbitration proceeding, neither party challenged the arbitrability of their disputes, the Arbitrator’s

qualifications, or the Arbitrator’s authority to adjudicate the parties’ disputes. Indeed, Zeta itself

identified the Deloitte partner who arbitrated the parties’ disputes as its preferred arbitrator.

        24.    On agreement of all parties, the parties made extensive written submissions to the

Arbitrator. On August 4, 2017, the arbitrator issued his final award, finding against Zeta with

respect to the entirety of the First Earn-out Payment Amount. However, unhappy with the

outcome, Zeta refused to pay the First Earn-out Payment Amount. As a result, on September 6,

2017, Petitioners commenced the action MarkDutchCo 1. B.V. and Markmidco S.ÀR.L v. Zeta

Interactive Corp., No. 19-3845, to confirm the final award.            The Court thereafter granted

Petitioners’ motions to confirm the award and to dismiss Zeta’s counterclaims. Zeta appealed the

Court’s decision, which appeal is presently pending before the Third Circuit.

C.      Zeta Refuses to Pay the Second Earn-out Payment Amount

        25.    While Petitioners’ proceeding to confirm the above-referenced award was pending,

on December 19, 2017, Zeta advanced a purported Second Earn-out Statement notifying Seller of

its position (as previously) that the CRM Business purportedly had not achieved a minimum

EBITDA of $10 million for the Second Earn-out Period, and that the Second Earn-out Payment

was therefore not due or payable. As with its First Earn-out Statement, Zeta dramatically

understated EBITDA in yet another attempt to avoid a payment that Zeta is required to make under

the IPA. Among other things, Zeta understated customer revenue, failed to apply the specific

EBITDA definition negotiated by the parties by improperly overstating certain costs, failed to

properly distinguish between different types of costs, and made other improper deductions in

contravention of accepted accounting practices.

        26.    Consistent with the IPA, on January 4, 2018, Seller timely objected to Zeta’s Earn-

out Statement. See Ex. 2 (annexed schedule excluded). Consistent with the IPA’s post-Closing


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procedures, Petitioners also made multiple demands for supporting information from Zeta –

reflecting the bare minimum information that any accounting arbitrator would need to support

Zeta’s EBITDA calculations. However, despite multiple requests for information and access to

Zeta personnel mandated by the IPA, Zeta failed to provide sufficient factual support for its Second

Earn-out Statement, or even to provide the same categories of information that it had previously

supplied in connection with Seller’s analysis of the First Earn-out Statement – information that the

Arbitrator had found directly relevant to his multiple determinations adverse to Zeta in the

arbitration.

        27.    On January 19, 2018, pursuant to the IPA, Petitioners notified Zeta that Seller was

referring the parties’ unresolved disputes concerning the calculation of EBITDA for the Second

Earn-out Period to the Arbitrator for resolution thereof. See Ex. 3 (annexed scheduled excluded).

        28.    The parties subsequently engaged in further extended correspondence and

discussions in which Zeta sought to postpone arbitration, promising that it would provide

additional materials. For example, in a January 22, 2018 letter to Petitioners, Zeta stated that

retaining an arbitrator would be “premature” until Zeta completed its responses to Seller’s

information requests. See Ex. 4.       Zeta thereafter supplied some additional information to

Petitioners. However, Zeta did not fully comply with Petitioners’ information requests and has

consistently withheld basic accounting data relevant to the preparation of Zeta’s Second Earn-out

Statement.

        29.    Notably, in its initial correspondence to Petitioners, Zeta did not object to

Petitioners’ referral of the parties’ disputes to arbitration. Rather, Zeta expressed that it wished to

“remove any need for arbitration” and that it was “willing to consider an appropriate extension of

dates for such [arbitral] proceedings and accompanying submissions, if they become necessary.”




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See Ex. 5. Zeta also expressed its dissatisfaction with the outcome of the First Earn-out arbitration

– a position that was later rejected by the District Court.

       30.     In June and July 2018, as part of a broader effort to streamline the parties’ multiple

then-pending disputes, the parties agreed to defer arbitration of their disputes concerning the

Second Earn-out Statement pending a ruling by the District Court on their then-pending award

confirmation proceeding concerning the First Earn-out Payment. To that end, in October 2018,

the parties entered into a written tolling agreement (the “Tolling Agreement”) in which the parties

agreed that their time to arbitrate any Disputed Payment Amount relating to the Second Earn-out

Period would be tolled sine die. See Ex. 6. The parties further agreed that the tolling would

terminate fifteen business days after written notice by either party terminating the agreement, but

not prior to the entry of a decision by the District Court on the merits of the then-pending motion

to confirm the award relating to the First Earn-out Payment. See id. Notably, in connection with

the parties’ discussions leading to the execution of the Tolling Agreement, on October 25, 2018,

Zeta’s counsel confirmed that Zeta considered that Petitioners had met their deadlines with respect

to the Second Earn-out dispute and had made an appropriate demand for arbitration.

       31.     Following issuance of the Court’s Order and Final Judgment, dated November 21,

2019, confirming the arbitrator’s final award with respect to the First Earn-out Payment, as well

as the breakdown of interim settlement negotiations by the parties, Seller terminated the parties’

Tolling Agreement on December 4, 2020. See Ex. 7. Petitioners’ notice informed Zeta that the

arbitrator was required to act as the sole arbiter of the Second Earn-out’s Disputed Payment

Amount and requested that Zeta contact Seller’s counsel to discuss Deloitte’s retention. See id.

       32.     In its January 4, 2021 response, however, Zeta informed Petitioners that it did not

believe arbitration was “necessary” or “productive,” claiming that “no applicable set of accounting




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principles could entitle [Seller] to any portion of the second earnout.” See Ex. 8. Nevertheless,

Zeta stated that it “may be willing to agree to proceed with a second arbitration on certain specified

terms,” namely a “different arbitrator” and a new “set of accounting principles” at variance with

the standards already imposed by the IPA. Id. Zeta’s response wholly ignored that the IPA

mandates that disputes relating to earn-out payments are to be resolved through arbitration and

application of the IPA’s existing accounting definitions to determine whether earn-out targets were

met.

        33.    On January 11, 2021, Petitioners informed Zeta that they were unwilling to further

delay arbitration of the issues concerning the Second Earn-out Payment Amount, addressing the

various excuses advanced by Zeta in its January 4 letter. See Ex. 9. As Petitioners indicated they

would, they thereafter contacted Deloitte to begin the process of retaining an arbitrator. Despite

being included in Petitioners’ correspondence with Deloitte, Zeta wholly refused to participate or

respond in any way during the course of that correspondence.

       34.     During this correspondence, Deloitte informed the parties that, because Deloitte

had been retained by Zeta in the interim as Zeta’s auditor, Deloitte may no longer serve as a neutral

arbitrator for these parties. Zeta’s direct engagement of Deloitte was directly at odds with the IPA,

which expressly states that Deloitte shall serve as the parties’ preferred accounting arbitrator.

Upon information and belief, Zeta’s retention of Deloitte and Deloitte’s corresponding conflict

were known and intentional on Zeta’s part, especially given Zeta’s clear indication of unhappiness

with Deloitte’s rulings in the parties’ first arbitration and Zeta’s awareness that the IPA had

designated Deloitte as the parties’ preferred arbitrator.

       35.     Following Deloitte’s disclosure of the conflict created by Zeta’s conduct,

Petitioners reached out to Zeta to request its participation in identifying an alternative arbitrator –




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a procedure anticipated by IPA Appendix A, which defines “Accounting Arbitrator” as Deloitte

“or, failing such firm’s willingness or availability to so serve, such other independent firm of

recognized national standing as may be mutually selected by Seller and Buyer.” See Ex. 1 App’x

A at i. However, despite multiple efforts on Petitioners’ part to move forward with the arbitration

required by IPA Section 2(c), or to identify an alternative arbitrator pursuant to IPA Appendix A,

Zeta has steadfastly refused to respond to any of these requests.

                                        COUNT I
                                 DEMAND FOR ARBITRATION

        36.     Petitioners reallege and incorporate by reference as if set forth herein the averments

contained in the preceding paragraphs.

        37.     The Convention, as adopted under federal law, provides in relevant part that a court

“may direct that arbitration be held in accordance with the agreement at any place therein provided

for, whether that place is within or without the United States.” 9 U.S.C. § 206.

        38.     The FAA provides in relevant part that “a party aggrieved by the alleged failure,

neglect, or refusal of another to arbitrate under a written agreement for arbitration may petition

any United States district court . . . for an order directing that such arbitration proceed in the manner

provided for in such agreement.” 9 U.S.C. § 4.

        39.     The parties’ IPA agreement requires that the parties submit all disputes concerning

the Second Earn-out Payment Amount to arbitration.

        40.     Pursuant to the terms of the IPA and applicable law, Petitioners are entitled to an

order requiring Respondent to arbitrate this matter.

        41.     Accordingly, Petitioners seek an Order from this Court compelling Respondent to

participate in arbitration of the Second Earn-out Payment Amount, including but not limited to

adhering to all directives by the Arbitrator with respect to Zeta’s procedural and substantive



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obligations under the IPA.

                                    PRAYER FOR RELIEF

       WHEREFORE, Petitioners respectfully request judgment in their favor as follows:

       42.     For an order and judgment compelling the matters asserted in this Petition to

arbitration pursuant to Section 2(c) of the IPA, requiring Zeta to timely comply with all requests

to appoint a neutral arbitrator and arbitrate the parties’ dispute in the manner required by the IPA,

including but not limited to adhering to all directives by the Arbitrator with respect to Zeta’s

procedural and substantive obligations under the IPA;

       43.     For an award of all of Petitioners’ fees and costs, including attorneys’ fees, incurred

as a result of Respondent’s failure to adhere to its arbitration obligations under the IPA; and

       44.      Granting such further relief as the Court may deem just and proper.



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